                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                       Plaintiffs,
                                              Case No. 3:19-cv-00736
v.
                                              District Judge Aleta A. Trauger
SPOTIFY USA INC.,
                                              JURY DEMAND
                           Defendant.



PLAINTIFFS’ SUR-REPLY IN FURTHER OPPOSITION TO SPOTIFY’S MOTION TO
DISMISS FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE, OR,
 IN THE ALTERNATIVE, TO TRANSFER VENUE TO THE SOUTHERN DISTRICT
                            OF NEW YORK




     Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 1 of 14 PageID #: 605
                                         INTRODUCTION
        Spotify’s analysis in its Reply, as it has throughout its briefing on these issues, attempts to

put a round peg in a square hole: the specific jurisdiction cases Spotify relies on involve “single or

occasional acts” that occur or have their impact within the forum state. In those cases, the defendant

needs protection against unfairly having to defend a case where it has not taken affirmative steps

to affiliate with a jurisdiction or secure benefits within a specific jurisdiction. That is the rationale

behind the purposeful availment principle – a defendant should not be required to defend where it

has not projected itself into a State and sought out the State’s benefits.

        The circumstances in this case are far different: Spotify has here engaged in systemic

conduct, including physical presence and use of the Nashville music infrastructure. It is Spotify’s

business through its interactive website that creates the causes of action, and is unlike a single or

occasional act such as a random car accident or defective tire that results in an accident. Spotify’s

conduct is an integrated, holistic set of local activities that make it fair and reasonable for Spotify

to have to defend this litigation in Nashville, Tennessee. In Kulko v. Superior Court of Cal., 436

U.S. 84, 91 (1978), the Supreme Court stated that there must be a “sufficient connection between

the defendant and the forum state to make it fair to require defense in the forum.” Once federalism

considerations are excluded (and they are here because no independent State interests are

involved), the balancing is between plaintiff’s interest in choosing the forum and the burden on

defendant, which is the “primary concern” under consideration of fairness. Bristol-Myers Squibb

Co. v. Superior Court, 137 S. Ct. 1773, 1780 (2017). In this regard, physical entry into a state (e.g.

Spotify’s entry into the Nashville market), is a relevant consideration under Walden. Walden v.

Fiore, 571 U.S. 277, 285 (2014). There is simply nothing unfair or unreasonable about requiring

Spotify to defend this action in this Court when the infringement occurs and harm results in this

District through the use by Tennessee citizens of Spotify’s interactive website, when New York

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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 2 of 14 PageID #: 606
has no independent, cognizable interests in this dispute, when Spotify litigated four identical cases

in this Court for two years without complaint, and when Spotify has a significant presence in

Tennessee through its Nashville, Tennessee office. As explained below, the authority Eight Mile

relies on is absolutely good law, and requires denial of Spotify’s motion.

   I.        Spotify Fails to Demonstrate that This Court Lacks Specific Personal Jurisdiction

        Eight Mile need only make a prima facie case to establish personal jurisdiction, and it has

easily satisfied this relatively slight burden. See Speedeon Data, LLC v. Integrated Direct Mktg.,

LLC, 718 F. App’x 333, 335-36 (6th Cir. 2017). Spotify claims that Eight Mile does not have a

response to recent decisions governing specific jurisdiction. (Doc. 75 at 7). Spotify, however,

ignores the voluminous case law post-Walden v. Fiore that still applies the principles set forth by

Eight Mile and holds that these principles as applied are still good law.

        A.     Spotify Has Ignored the Sixth Circuit Standard for Purposeful Availment
               Based on an Interactive Website

        According to Spotify, courts have “consistently rejected the argument” that purposeful

availment may be found based upon an interactive website. (Doc. 75 at 7). This is wrong,

especially in the Sixth Circuit. Instead of citing decisions where courts have consistently rejected

jurisdiction based on an interactive website, Spotify cites a single Seventh Circuit case that is at

odds with the Sixth Circuit’s application of the principle. Defendant cites Advanced Tactical

Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 802-03 (7th Cir. 2014) for the

proposition that “simply operating an interactive website accessible in the forum state” does not

satisfy purposeful availment. In that case, the court stated that “[t]he interactivity of a website is

also a poor proxy for adequate in-state contacts.” Id. at 803. This proposition, however, is directly

at odds with the standard for interactive websites Sixth Circuit courts have uniformly applied.




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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 3 of 14 PageID #: 607
        Under the Sixth Circuit standard, “[t]he operation of an Internet website can constitute

purposeful availment of the privilege of acting in a forum state . . . ‘if the website is interactive to

a degree that reveals specifically intended interaction with residents of the state.’” Bird v. Parsons,

289 F.3d 865, 874 (6th Cir. 2002). This Circuit applies a “sliding scale” approach, which

“distinguishes between interactive websites, where the defendant establishes repeated online

contacts with residents of the forum state, and websites that are passive, where the defendant

merely posts information on the site. . . . Interactive websites can subject the defendant to specific

personal jurisdiction, whereas passive websites are less likely to confer such jurisdiction.” Global

Force Entm’t, Inc. v. Anthem Sports & Entm’t Corp., 385 F. Supp. 3d 576, 585 (M.D. Tenn. 2019).

        While Spotify claims that Eight Mile ignores Walden v. Fiore, if it reviewed the post-

Walden case law related to interactive websites, it would understand that Sixth Circuit courts have

uniformly considered the level of interactivity of a website in assessing purposeful availment. 1

This overwhelming precedent demonstrates that the operation of an interactive website reaching

customers in a forum may subject the defendant operating the website to the jurisdiction of that

forum. As set forth in Eight Mile’s Response, Spotify does in fact operate a highly interactive

website, through which it purposefully avails itself of the privilege of transacting business in




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  See Dochnal v. Thomson Reuters Corp., 2018 U.S. Dist. LEXIS 178458, at *9 (E.D. Tenn. Oct.
17, 2018) (“A defendant purposefully avails itself of the privilege of acting in a state through its
website if the website is interactive to a degree that reveals specifically intended interaction with
residents of the state.”); Comerica Bank v. Enagic Co.. 2017 U.S. Dist. LEXIS 191984, at *22
(E.D. Mich. Nov. 21, 2017) (same); Olbers v. Thompson, 2017 U.S. Dist. LEXIS 136854, at *16
(W.D. Ky. Aug. 25, 2017) (same); Cross v. Rodgers, 2017 U.S. Dist. LEXIS 119777, at *10 (M.D.
Tenn. Jul. 31, 2017) (same); Sanders v. Sennholz, 2017 U.S. Dist. LEXIS 118566, at *10 (E.D.
Mich. Jul. 28, 2017) (same); Buschle v. Coach, Inc., 2017 U.S. Dist. LEXIS 45681, at * (S.D. Ohio
Mar. 28, 2017) (same); Tempur Seal Int’l v. Wondergel, LLC, 2016 U.S. Dist. LEXIS 44354, at *5
(E.D. Ky. Apr. 1, 2016); Shaun Jackson Design, Inc. v. Mohawk USA LLC, 2015 U.S. Dist. LEXIS
172405, at *9-10 (Dec. 29, 2015) (same); Gutman v. Allegro Resorts Mktg. Corp., 2015 U.S. Dist.
LEXIS 166647, at * (E.D. Mich. Dec. 14, 2015) (same).
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    Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 4 of 14 PageID #: 608
Tennessee. (Doc. 69 at 10-14). Indeed, the only service that Spotify offers to its customers in this

District is, under the terms of the Copyright Act, an “interactive service.” 17 U.S.C. 114(j)(7).

       B.      Spotify Is Incorrect that the Location of a Server is Not Relevant to Personal
               Jurisdiction

       Spotify claims that the “location of a server does not amount to targeting a particular

forum.” (Doc. 75 at 9). The cases on which Spotify relies, however, fail to support its argument.

Spotify’s reliance on FireClean, LLC v. Tuohy, 2016 U.S. Dist. LEXIS 96294 (E.D. Va. Jul. 21,

2016) and BGDG Enters., LLC v. Barley & Swine, 2014 U.S. Dist. LEXIS 199599 (W.D. Tex. Jan.

23, 2014) are misplaced as the cases dealt with servers hosting passive websites, not interactive

websites with servers used to reproduce and distribute copyrighted music. Spotify’s quotation of

Man-D-Tec, Inc. v. Nylube Prods. Co., LLC, 2012 U.S. Dist. LEXIS 69626, at *6 (D. Ariz. May

18, 2012) is misleading at best because the quoted material is from the court’s discussion of

general personal jurisdiction.

       On the other hand, in Ferron v. e360Insight, LLC, 2008 U.S. Dist. LEXIS 75085, at *9-10

(S.D. Ohio Sep. 29, 2008), the court stated that “defendants knew or reasonably should have known

that their emails would reach individuals located in other states through servers located in other

states. It is therefore reasonable to conclude that defendants purposefully availed themselves of

the privilege of conducting activities in those other states.” Likewise, in Ferron v. 411 Web

Directory, 2009 U.S. Dist. LEXIS 109898, at *12 (S.D. Ohio Jul. 6, 2009), the court found that

the defendant purposefully availed itself when it “knew or should have known that its e-mails

would reach individuals located in Ohio through servers located in Ohio.” The court in Columbia

Pictures Indus. v. Fysch, 2007 U.S. Dist. LEXIS 11234, at *5-6 (W.D. Mich. Feb. 16, 2007) also

considered the location of the server relevant to its analysis.




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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 5 of 14 PageID #: 609
          Spotify does not dispute that it has servers in Tennessee that deliver the infringing Eight

Mile Compositions to Tennessee residents.

    II.      Spotify Fails to Recognize the Lenient Standard Sixth Circuit Courts Apply in
             Assessing Suit-Related Contacts

          Spotify next claims that Eight Mile relies on older cases that have been superseded by

subsequent Supreme Court decisions. Spotify cites Bristol-Myers Squibb Co., 137 S. Ct. at 1781,

stating “specific jurisdiction requires ‘a connection’ between the forum and the ‘specific claims at

issue.’” (Doc. 75 at 10) (emphasis omitted). Yet, this is the same standard set forth in Eight Mile’s

Response. “[T]he cause of action, of whatever type, [must] have a substantial connection with the

defendant’s in-state activities.” (Doc. 69 at 15) (citing Bird v. Parsons, 289 F.3d 865, 875 (6th

Cir. 2002)). Nothing in Bristol-Myers Squibb Co. v. Superior Court changed this standard, and

Bird v. Parsons has subsequently been cited by this Court with approval. 2

          Spotify has completely ignored the recent precedent describing the “arising from” prong

as subject to a lenient standard. 3 Spotify has focused on its nationwide business practices,

attempting to bury its actual contacts with Tennessee. The fact remains that it has substantial suit-

related contacts with Tennessee because Tennessee users have streamed and downloaded the Eight

Mile Compositions. In Shaun Jackson Design, Inc., 2015 U.S. Dist. LEXIS 172405, at *8, the

Court stated, “[i]t is true that much of the alleged infringement occurred throughout the United




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  Bates v. CogniSens Aths., Inc., 2018 U.S. Dist. LEXIS 123581, at *17 (M.D. Tenn. Jul. 24, 2018)
(Trauger J.); Servpro Intellectual Prop. v. Zerorez Franchising Sys., 2018 U.S. Dist. LEXIS
114504, at *16 (M.D. Tenn. Jul. 9, 2018); Bonner v. UPS, 2018 U.S. Dist. LEXIS 130911, at *7
(M.D. Tenn. Aug. 2, 2018).
3
  Bates, 2018 U.S. Dist. LEXIS 123581, at *17 (Trauger J.); CrossCountry Mortg., Inc. v. Messina,
2019 U.S. Dist. LEXIS 189380, at *34 (N.D. Ohio Oct. 31, 2019); Parker Hannifin Corp. v. Std.
Motor Prods., 2019 U.S. Dist. LEXIS 183469, at 36 (N.D. Ohio Oct. 23, 2019); Complete
Prototype Servs., Inc. v. Trans Am Worldwide, LLC, 2017 U.S. Dist. LEXIS 136461, at *20 (E.D.
Mich. Aug. 25, 2017); Shaun Jackson Design, Inc., 2015 U.S. Dist. LEXIS 172405, at *17.
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    Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 6 of 14 PageID #: 610
States. But because some allegedly occurred in [Michigan], and ‘[i]n light of the lenient standard

that applies when evaluating the “arising from” criterion,’ the plaintiff’s causes of action arise

from the defendant’s contacts with Michigan.” (Internal citation omitted).

          Spotify next makes the claim that licensing-related activities do not take place in

Tennessee. If Spotify never obtained a license, nothing was done anywhere. Spotify cannot point

to New York as the place it did nothing and avoid jurisdiction on that basis. When the acts giving

rise to this cause of action are properly classified as the illegal downloading and streaming of the

Eight Mile Compositions by Tennessee residents on Spotify’s interactive website, through

Tennessee located servers, there can be no doubt that the cause of action arises from Spotify’s

contacts with Tennessee. This targeted activity by Spotify is expressly aimed at Tennessee, creates

harm in Tennessee, and is the proximate cause of Eight Mile’s cause of action.

   III.      The Exercise of Specific Jurisdiction Is Fair And Reasonable

          “In determining whether personal jurisdiction is present, a court must consider a variety of

interests. These include ‘the interests of the forum State and of the plaintiff in proceeding with the

cause in the plaintiff’s forum of choice.’” Bristol-Myers Squibb Co., 137 S. Ct. at 1780. “[T]he

‘primary concern’ is ‘the burden on the defendant.’” Id. Spotify’s only claim in its Reply related

to burden is that “its relevant employee witnesses are located in New York or the United

Kingdom.” (Doc. 75 at 14). This, however, was not an issue in the prior cases. As stated in the

Declaration of Richard S. Busch, the parties spent more time at depositions outside of New York

than in New York. In the prior cases, counsel traveled to New York, Los Angeles, Washington,

D.C., Baltimore, and conducted a deposition by video conference for a witness located in Sweden.

(Doc. 69-3 at 3). The substantial physical presence of Spotify in Nashville strongly suggests that

there is minimal burden on Spotify to litigate in Tennessee. Spotify is engaged in a process of



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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 7 of 14 PageID #: 611
business development that creates the cause of action. This is not a “single or occasional act” such

as a car accident or a defective tire that causes an accident. See Goodyear Dunlop Tires Operations,

S.A. v. Brown, 564 U.S. 915, 924, (2011). Despite Spotify’s argument that the “unitary business

principle” is irrelevant, Eight Mile would stress that this concept is relevant to the facts of this

case, to show that the broad array of activities that are suit-related must be understood in this

context – not the one-off context of a single specific act but as part of an ongoing process of

violations.

       Spotify also incorrectly states that Eight Mile has not offered an argument for Tennessee’s

interest in exercising jurisdiction. (Doc. 75 at 10). The lack of federalism concerns, however,

makes this averment a red herring regarding jurisdiction. In fact, regarding venue, Tennessee does

have an interest in exercising jurisdiction here. First, Spotify’s entry into the Nashville market is a

relevant consideration under Walden. See Walden v. Fiore, 571 U.S. at 285 (“physical entry into

the State — either by the defendant in person or through an agent, goods, mail, or some other

means — is certainly a relevant contact”). Second, the suit-related conduct is the streaming of the

Eight Mile Compositions by Tennessee residents, and residents all over the United States, all

without a license. (Doc. 69 at 22). Tennessee has an interest in addressing copyright infringement

perpetrated by a company operating within its borders, and Eight Mile’s decision to seek relief in

Tennessee is subject to significant weight. See Smith v. Kyphon, Inc., 578 F. Supp. 2d 954, 962

(M.D. Tenn. 2008). Finally, litigating this action will promote judicial efficiency as this Court has

already heard the four prior cases, is familiar with Spotify and the issues involved, and Tennessee

has an interest in upholding the principles previously established in the prior cases.

        Eight Mile’s reliance on Spotify’s conduct to litigate the prior cases in Tennessee is also

a relevant factor. In Geber v. Riordan, 649 F.3d 514, 519 (6th Cir. 2011), the Sixth Circuit clarified



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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 8 of 14 PageID #: 612
the test for finding forfeiture of a personal-jurisdiction defense through conduct: “we ask whether

a defendant’s conduct prior to raising the defense has given the plaintiff ‘a reasonable expectation’

that the defendant . . . will defend the suit on the merits or whether the defendant has caused the

court to ‘go to some effort that would be wasted if personal jurisdiction is later found lacking.’”

Spotify absolutely gave Eight Mile a reasonable expectation that it would defend this case in

Tennessee. This case is the same cause of action of copyright infringement and a similar set of

facts as the prior cases. This is the very reason this case was marked as a related case. (Doc. 1-

3). Spotify also cannot and does not deny that New York is a more congested and expensive forum.

   IV.      Spotify’s Decision To Raise Personal Jurisdiction Is Inconsistent

         Eight Mile also asserts judicial estoppel not to establish jurisdiction, but to prevent Spotify

from forum shopping and its unreasonable gamesmanship. At minimum, the litigation of four

cases in this Court for two years shows conclusively that it is reasonable for this Court to hear this

case, and that there is no unreasonable burden on Spotify. Spotify relies on a broad range of case

law arguing in short, “a defendant does not forfeit the due process right to challenge personal

jurisdiction in a subsequent case by not raising it in a prior case.” Rozenblat v. Sandia Corp., 2006

WL 678923, at *3 (Fed. Cir. 2006). Unlike Rozenblatt, however, Spotify did not just make an

appearance in one case. Id. Spotify litigated four cases in this forum, for two years, and four times

Spotify proceeded with litigating on the merits for years. Unlike Rozenblat, Eight Mile does not

simply allege “that personal jurisdiction was established because these parties appeared in that

court in another action previously filed by Mr. Rozenblat.” Id. Eight Mile has alleged an

independent basis for this Court to exercise specific jurisdiction based on its conduct and presence

in Tennessee. Spotify’s reliance on Dow Chem. Co. v. Calderon, is also misplaced. There, “the

Companies … expressly eschewed any ‘minimum contacts’ specific jurisdiction analysis, and rest



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   Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 9 of 14 PageID #: 613
only on the contention that the Managuan defendants have consented to suit.” Dow Chem. Co. v.

Calderon, 422 F.3d 827, 835 (9th Cir. 2005). Again, Eight Mile is not alleging that judicial

estoppel establishes personal jurisdiction in this case. Instead, the factors establishing judicial

estoppel are present, and (in any event), the acceptance of jurisdiction in those four cases is relevant

to show the lack of any burden on Spotify. Spotify did not just make an appearance in one case,

as in Harvey D. Bailey, Inc. v. Markel Ins. Co. of Canada, but litigated four cases with more than

344 pleadings in just one of them, Bluewater v. Spotify USA Inc., (Case No. 3:17-cv-01051), with

all very close to trial when they settled. 4 This case is nearly identical in all respects to those four

cases.

         Finally, Spotify places reliance on Toma v. Motley Crue, Inc., 2012 WL 4793508 (N.D. Ill.

Oct. 9, 2012) to somehow persuade the Court that Spotify chose to “waive its objections to

jurisdiction in the earlier case for reasons unrelated to the merits of the defense, or else the nature

of claims in that lawsuit may have made specific jurisdiction seem more appropriate.” This is false.

In its attempt to transfer this case, Spotify has on numerous occasions called attention to the fact

that Eight Mile does not reside in Tennessee. (Doc. 75 at 6). This too is a factor that existed in the

prior cases. 5 The prior plaintiffs also involved some non-Tennessee residents.



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  See Case No. 3:17-cv-01051, Doc. 308 (jury trial in this matter, which is anticipated to last 20-
25 days, is set to begin on May 18, 2020 at 9:30 a.m.); Case No. 3:17-cv-1256, Doc. 49 (jury trial
in this matter, which is anticipated to last 10-12 days, is set to begin on January 14, 2020 at 9:30
a.m.); Case No. No. 3:17-cv-01052, Doc. 48 (jury trial in this matter, which is anticipated to last
8-10 days, is set to begin on October 1, 2019 at 9:30 a.m.); Case No. 3:17-cv-1616, Doc. 65 (jury
trial in this matter, which is anticipated to last 8-10 days, is set to begin on June 18, 2019 at 9:30
a.m.).
5
  See Case No. 3:17-cv-01052, Doc. 1 at 8 (Four Seasons is a partnership operating out of
California); See Case No. 3:17-cv-01616, Doc. 1 at 4 (Dolby is an individual residing in Maryland,
Lost Toy People is a California entity, Optic Noise is a California entity); Case No. 3:17-cv-01256,
(A4V is California entity, J&J is a New York entity, Lakshmi is a Connecticut entity, Lindabet is
a New York entity, Music by Shay is a California entity, Music of the West is a Nevada entity,
Swinging Door Music is a New York entity).
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    Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 10 of 14 PageID #: 614
    V.      Spotify Has Failed To Establish That A Transfer Is Warranted

         Transfer of venue of this case remains unwarranted. First, Spotify fails to justify a transfer

of this case to New York. 6 Spotify has only shown that New York proves, at best, to be equally

convenient or inconvenient, and this is not enough to warrant a transfer. See Imperial Prods. v.

Rice Endura Prods., 109 F. Supp. 2d 809, 818 (S.D. Ohio 2000) (“Section 1404(a) provides for

transfer to a more convenient forum, not a forum likely to prove equally convenient or

inconvenient.”). Second, Spotify’s motivation here is rooted in shifting any inconvenience solely

to Eight Mile. See Imperial Prods. 109 F. Supp. 2d at 818. (“The venue transfer provisions of

Section 1404(a) [are] not meant to merely shift the inconvenience to the plaintiff.”) Id. Third,

Spotify has failed to present in its Reply new evidence or arguments that a transfer is warranted.

Spotify contends there is a new witness in New York, i.e., Bob Kohn. (Doc. 75 at 19). Mr. Kohn

is not new. In fact, Mr. Kohn served as an expert for plaintiffs in the prior cases, and his deposition

was taken in Los Angeles, not New York. He will also be an expert for Eight Mile in this case, and

will make himself available wherever requested. Spotify’s similarly desperate argument that King

& Ballow has a secondary office in California, and that counsel Richard S. Busch is licensed in

California and has often litigated in other forums, is also irrelevant. (Doc. 75 at 20). King &

Ballow’s secondary office in California would not assist with a case in New York. And those facts

do not change the additional expense or burden on Eight Mile to litigate in New York.

                                           CONCLUSION

         For the foregoing reasons, Eight Mile respectfully requests the Court deny Spotify’s

Motion.



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  In the Reply, Spotify relies on Showhomes Franchise Corp. v. LEB Sols., LLC, 2017 WL
3674853, at *1 (M.D. Tenn. Aug. 24, 2017) (Trauger, J.). However, unlike here, in Showhomes,
there was a valid forum-selection provision in the Parties’ agreement).
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    Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 11 of 14 PageID #: 615
Dated: January 27, 2020

                                          Respectfully submitted,

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                                     11

  Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 12 of 14 PageID #: 616
                                CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing Plaintiffs’ Sur-Reply To Spotify USA Inc.’s

Reply Memorandum of Law in Support of Its Motion to Dismiss for Lack of Personal

Jurisdiction and Improper Venue, or, in the Alternative, To Transfer Venue To The Southern

District of New York has been served upon the following parties in this matter using the ECF

system this 27th day of January, 2020. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt, including

the following:

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                                                 12

 Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 13 of 14 PageID #: 617
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                                     13

 Case 3:19-cv-00736 Document 79 Filed 01/27/20 Page 14 of 14 PageID #: 618
